           Case 1:18-cv-00119-YK Document 4 Filed 04/17/18 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CYNTHIA PUGH,                   :
    Plaintiff                   :                        No. 1:18-cv-00119
                                :
      v.                        :                        (Judge Kane)
                                :
COMMONWEALTH OF                 :
PENNSYLVANIA, PENNSYLVANIA      :
OFFICE OF the ATTORNEY GENERAL, :
and JONATHAN DUECKER,           :
      Defendants                :

                                             ORDER

THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

       On January 16, 2018, Plaintiff Cynthia Pugh initiated the above-captioned action by

filing a complaint against the Defendants alleging claims of retaliation and discrimination arising

out of her employment with the Pennsylvania Office of the Attorney General. (Doc. No. 1.) A

summons for service on Defendants was issued on the same date. (Doc. No. 2.)

       A review of the docket in this matter reveals that Plaintiff has not filed proof of service of

the summons and complaint upon Defendants within ninety (90) days from the filing of the

amended complaint, as required by Federal Rule of Civil Procedure 4(m).

       The amended provision of Federal Rule 4(m) governing the time limit for service of

process following the filing of a complaint, effective December 1, 2015, provides as follows:

       (m) Time Limit for Service. If a defendant is not served within 90 days after the
       complaint is filed, the court – on motion or on its own after notice to the plaintiff –
       must dismiss the action without prejudice against that defendant or order that service
       be made within a specified time. But if the plaintiff shows good cause for the failure,
       the court must extend the time for service for an appropriate period.

Fed. R. Civ. P. 4(m).


                                                 1
           Case 1:18-cv-00119-YK Document 4 Filed 04/17/18 Page 2 of 2



       ACCORDINGLY, on this 17th day of April, 2018, IT IS ORDERED THAT Plaintiff

is directed, within ten (10) days of the date of this Order, to show cause why Plaintiff’s

complaint against Defendants should not be dismissed without prejudice pursuant to Federal

Rule of Civil Procedure 4(m).



                                                      s/ Yvette Kane
                                                      Yvette Kane, District Judge
                                                      United States District Court
                                                      Middle District of Pennsylvania




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